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                        EXHIBIT A
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  UNITED STATES DISTRICT COURT
  CENTRAL DISTRICT OF CALIFORNIA

  GOLDEN BOY PROMOTIONS, LLC,                Case 2:15-cv-03378 JFW (MRWx)
  GOLDEN BOY PROMOTIONS, INC.
  And BERNARD HOPKINS,

                         Plaintiffs,

       v.

  ALAN HAYMON, ALAN HAYMON
  DEVELOPMENT, INC., HAYMON
  HOLDINGS, LLC, HAYMON
  SPORTS, LLC, HAYMON BOXING
  MANAGEMENT, HAYMON
  BOXING LLC, and RYAN
  CALDWELL,

                         Defendants.




                                Expert Report of
                         Gene Deetz, CPA/ABV, ASA, CFF
                                September 6, 2016




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    II.       BACKGROUND

          6. Plaintiff Golden Boy Promotions, LLC is a California limited liability company. Plaintiff Golden Boy

              Promotions, Inc. is a California corporation. Together they are called “Golden Boy.” 1

          7. Defendant Alan Haymon owns Alan Haymon Development, Inc., Haymon Sports, LLC, Haymon

              Holdings, LLC (f/k/a KO Holdings, LLC, f/k/a Haymon Sports, LLC), Haymon Boxing LLC and

              Haymon Boxing Management LLC,2 together referred to throughout this report as “Haymon”.

          8. As disclosed in Golden Boy’s audited financial statements for the year ended December 31, 2014, the

              nature of Golden Boy’s operations were described as follows:


                      “The Company is primarily in the business of promoting professional boxers and arranging,
                      staging, marketing, and otherwise exploiting boxing events and related activities.” 3

          9. Golden Boy maintains their financial records on an event-by-event basis, with its largest revenue source

              from promoting events carried on broadcast media.4 The relationship between Golden Boy and the

              broadcast media (HBO, Showtime, FOX, among others), and Golden Boy’s ability to promote

              successful events requires, among other things, championship caliber boxers 5 and network timeslot

              availability. 6 The requirement for these two fundamental inputs for success is described by Golden

              Boy’s Industry Expert, Gary Shaw (“Shaw”), as “product” and “platform.”

      10. From December 2014 through January 2016, Haymon was using the $500,000,000 received from Media

              Group Holdings (“MGH”) for “Television Costs”, “Fighter Costs”, and “On-air Broadcast Fees.” 7

          11. During 2015, certain of the network and cable broadcasters of the professional boxing matches entered

              into exclusive contracts with Haymon. 8


1 Second Amended Complaint, filed May 5, 2015 at ¶5.
2 Second Amended Complaint at ¶6.
3 Golden Boy Boxing, LLC and Subsidiaries. Consolidated Financial Statements Year Ended December 31, 2014 at page 5, footnote 1(a).

  (GBP008063 at 69).
4 See Exhibit 1.
5 On September 6, 2016 Robert Kneuper, PhD issued his Expert Report in this matter (“Kneuper Report”). As defined in the Kneuper

  Report, the base criteria for championship caliber boxers are those with a US based manager or promoter, as well as a television
  appearance within the preceding eighteen months and a current period top ten ranking in any of the fourteen weight classes, additionally
  including any former televised world champions within the last eighteen months.
6 See the Expert Report of Gary Shaw (“Shaw Report”) at pages 5 and 6.
7 HAYMON_00002200 through HAYMON_00002335.
8 See Appendix IV.

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      12. In 2016 Haymon entered into a settlement with Top Rank (a promoter of championship caliber

         professional boxing matches), which included, among other things, Haymon’s agreement to waive

         exclusivity provisions contained in Haymon's contracts with network and cable broadcasters of

         professional boxing matches. 9

      13. Issued on September 6, 2016, the Kneuper Report concludes that Haymon has reached a position of

         market power through “tying” and other exclusionary practices.10

             a. In summary, the Kneuper Report opines that 11:

                        i. Haymon has market power in the US market for managing championship caliber boxers

                           and in the US market for promoting championship caliber boxers.

                       ii. Haymon’s anticompetitive actions have allowed it to lock up key inputs essential to

                           effectively compete as a promoter, including championship caliber boxers and key

                           broadcasters.

                      iii. Haymon’s anticompetitive actions have injured key competing boxing promoters,

                           including Golden Boy.

                      iv. Haymon’s anticompetitive actions have also harmed, and are likely to harm, non-

                           Haymon championship caliber boxers.




9 Settlement Agreement and Release of Claims by and between Top Rank, Inc. and Alan Haymon effective May 5, 2016.
10 Second Amended Complaint at ¶15. See also, 15 U.S.C. § 6308(b).
11 Kneuper Report.

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III.       SCOPE OF ENGAGEMENT

       14. I have been asked by counsel for the Plaintiff, Golden Boy, to review and analyze financial data and

           documents related to the above-referenced litigation and to provide my expert opinions regarding

           damages, if any, suffered by Golden Boy as a result of Haymon’s alleged anticompetitive practices in

           the boxing industry.

       15. In addition to the financial data and documents, I have also reviewed the various filings in this matter,

           including Plaintiffs’ complaints, Defendants’ answer, and interrogatories, as well as the Kneuper and

           Shaw Reports. Appendix II contains a list of materials I considered.

    16. My opinions are based on the facts of this case as I now understand them and the analyses described in

           this report. My work on this case is continuing and I reserve the right to revise or augment the findings

           and opinions set forth here in the event that additional information relevant to the issues I examined

           becomes available, in response to questions raised in my deposition, to take into account or reply to

           analyses offered by experts retained by Defendants, or for other reasons.

    17. Navigant is charging an hourly rate of $750 for my time. Other Navigant personnel working under my

           direction assisted in my analyses. Navigant personnel are being compensated for their work at

           customary rates. This compensation is not contingent upon the substance of my testimony, my report,

           or the outcome of this matter.




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IV.       SUMMARY OF OPINIONS

      18. I am relying on the opinions in the Kneuper Report and the Shaw Report, which conclude that Haymon

          is functioning as both a promoter of professional boxing matches and a manager of professional

          boxers. 12 I am further relying on the Kneuper Report’s conclusions regarding the nature of the

          anticompetitive harm from Haymon’s actions. 13 In performing my damages analyses, I assume antitrust

          liability.

      19. Golden Boy’s financial condition, measured by income from boxing operations, deteriorated from the

          end of 2014 through June 2016.

      20. In 2015 and 2016, Golden Boy experienced a decline in the number of Golden Boy promoted

          championship caliber broadcast television events and associated revenues, and a decline in the number

          of championship caliber boxers on televised events.

      21. From the end of 2014 through January 2016, Haymon spent a significant portion of the $500 million

          received from MGH on “Television Costs,” “Fighter Costs,” and “On-air Broadcast Fees.”

     22. I have evaluated Golden Boy’s damages based on the hypothetical but-for analysis where Haymon only

          acts as a manager. Comparing that hypothetical scenario to the opinions as presented to me by the

          Kneuper and Shaw Reports, and assuming Haymon continues to block access to television broadcasters

          and fighters, Golden Boy’s lost profits attributable to Haymon’s alleged anticompetitive practices,

          measured by the decline in Golden Boy’s income from boxing operations, are estimated to be $20.0

          million. In the event that Haymon is forced to, either by court order or by market forces, or otherwise

          voluntarily lifts restrictions on boxers and television networks, such that Golden Boy is able to begin

          recovering, Golden Boy’s lost profits are estimated to be in a range of $7.0 million to $8.4 million. 14



12 Kneuper Report. See also, Shaw Report at page 12.
13 See ¶13
14 The above damaged calculations incorporate a general negative industry growth rate assumption, taken from Integra Industry Growth

  Outlook Report 197.3 7941 PROFESSIONAL SPORTS CLUBS AND PROMOTERS. In Exhibit 5, in calculating the Net Damages, I
  have assumed the growth rates indicated from the Integra Industry Growth Outlook Report. I have selected these growth rates because
  they are the closest reported to the boxing industry. However, based on my work in this matter, I believe it is unlikely that the boxing
  industry will suffer these negative growth rates. Estimating damages using a conservative 2% long-term growth rate would increase the
  Scenario 2 Net Damages to $10.8m, the Scenario 3 Net Damages to $13.5m and the Scenario 4 Net Damages to $36.2m.
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       33. During this same time period, Haymon entered into exclusive media contracts with CBS, ESPN, FOX,

            and NBC, and entered into a high volume event agreement with Spike TV. Tied to these contracts’

            exclusivity provisions, Haymon paid the networks substantial amounts of money as follows and as

            further described in Appendix IV.




       34. The acquisition of exclusive broadcast network contracts (which include the payment of fees to the

            networks) and executing management and advisory contracts, that give control over the selection of

            promoter to Haymon (and include a guaranteed higher purse than previously paid) are considered in the

            Kneuper Report (and the Shaw Report) in reaching the opinion that Haymon was using anticompetitive

            business practices. 18



18   See ¶13. Also see Shaw Report at page 10.
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     35. In Exhibits 1 and 3, I present my period-over-period analyses from 2014 through June 30, 2016,

         including the TV revenues and related events, as well as the boxers in these events, noting boxers of

         championship caliber. The analyses summarized in this exhibit show declines in Golden Boy’s TV

         revenue, total revenue, and income from boxing operations, consistent with the anticompetitive impact

         of Haymon’s business practices. 19

     36. In Appendix V, I have done a separate analysis of Golden Boy’s contracts with broadcast networks.

         That analysis reveals that as Haymon began signing contracts with network broadcasters, Golden Boy’s

         network contracts were not renewed on terms previously acceptable to the networks. 20

     37. The continuous and dramatic decline of Golden Boy’s on-air events and revenues is occurring at the

         same time as Haymon enters into the aforementioned exclusivity clauses and makes the related cash

         payments to the various broadcast networks. See Exhibit 1 and Appendix IV.

     38. The number of broadcast events and their associated revenues declined in 2015 and 2016, when

         compared to 2014, as presented in Exhibit 1. As I stated above, the relationship between Golden Boy

         and the broadcast media (HBO, Showtime, FOX, among others), and Golden Boy’s ability to promote

         successful events requires, among other things, championship caliber boxers 21 and network timeslot

         availability. 22

     39. Appendices IV and V reflect both the Haymon and Golden Boy media contracts during 2014, 2015, and

         through June 30, 2016. These appendices demonstrate both the decrease in Golden Boy’s access to

         broadcast media for potential promotion of championship caliber events and the results of Haymon’s

         significant investment in network and cable broadcast timeslots.

     40. Consistent with the decline in TV Revenue is a decline in both the number of championship caliber

         boxing events and the number of Golden Boy promoted championship caliber boxers. See Exhibit 1.



19 See ¶13
20 See Appendices IV and V.
21 As defined in the Kneuper Report, the base criteria for championship caliber boxers are those with a US based manager or promoter, as

  well as a television appearance within the preceding eighteen months and a current period top ten ranking in any of the fourteen weight
  classes, additionally including any former televised world champions within the last eighteen months.
22 The Shaw Report at pages 5 and 10 describes the promoters’ requirement for both product and platform.

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    D. Assuming Haymon continues to block access to television broadcasters and fighters, Golden Boy’s lost

        profits attributable to Haymon’s alleged anticompetitive practices, measured by the decline in Golden

        Boy’s income from boxing operations, are estimated to be $20.0 million. In the event that Haymon is

        forced to, either by court order or by market forces, or otherwise voluntarily lifts restrictions on boxers

        and television networks, such that Golden Boy is able to begin recovering, Golden Boy’s lost profits are

        estimated to be in a range of $7.0 million to $8.4 million.


    48. In considering damages in this matter, I have employed the following methodology:

            a. I have assumed in constructing a comparative but-for analysis that Haymon functions only as a

                manager during 2015 through June 30, 2016 (historical damage period). Additionally, I have

                incorporated this assumption into my analysis of damages subsequent to June 30, 2016.

            b. I obtained a list of all boxers under contract to Golden Boy during 2014, 2015, and through June

                30, 2016.

                     i. Based on the criteria as outlined in the Kneuper Report, I sort these lists into two

                         categories, championship caliber boxer and all others.

            c. I analyzed all revenue and expenses associated with each event promoted by Golden Boy from

                January 1, 2014 through June 30, 2016. See Exhibit 3 and Appendix III.

                     i. Each event contains a specific number of bouts. The total event revenues are listed by

                         category, and those categories were allocated to specific boxers based on that individual

                         boxers’ TV appearance and each boxers’ specific purse.

                     ii. The expenses for each event were also allocated to individual boxers based on TV

                         appearances and purse.

                    iii. The resulting analysis computes a Golden Boy promoted income from boxing

                         operations per event, also subdivided by championship caliber boxer.




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             d. From the data analyzed in the preceding paragraph I present the year-over-year decline in the

                  Golden Boy income from boxing operations (including Golden Boy promoted championship

                  caliber broadcast television events and associated revenues). See Exhibit 3.

             e. I compare the 2014 income from boxing operations to the income from boxing operations from

                  boxing from 2015 and June 30, 2016. See Exhibit 4.

             f.   The difference in income from boxing operations earned in 2014 and the income from boxing

                  operations earned in 2015 through June 30, 2016, adjusted for industry growth, is historical

                  damages as reflected in Exhibit 5.

             g. For purposes of future damages and the possibility of Golden Boy recovering during some time

                  period subsequent to June 30, 2016, I have presented a range of recovery assumptions and

                  therefore a range of future damages as well as total damages. One recovery assumption is that

                  Haymon continues his anticompetitive conduct and Golden Boy is unable to recover its lost

                  profits. In the event that Haymon ceases his anticompetitive conduct, either voluntarily or by

                  virtue of market forces or court order, I assume recovery periods which are generally within the

                  current and extension periods of the Haymon TV contracts. See Exhibit 5 and Appendix IV.

    49. During January and February of 2015, Haymon made certain payments totaling $14 million, addressing

         22 fighters’ relationships with Golden Boy. 23 Based on my review of the Settlement Agreement which

         governs these payments, I understand that these payments were designed to terminate certain exclusive

         promotional rights held by Golden Boy. However, nothing in the Settlement Agreement precludes

         Golden Boy from working with those fighters in the future (or alternative replacements, assuming

         Haymon does not engage in anticompetitive actions). Accordingly, for purposes of my damages

         analysis, I have assumed that this transaction did not negatively affect Golden Boy’s ability to perform

         in 2015 and thereafter.




23 Settlement and Release Agreement, dated as of August 5, 2014 and executed December 19, 2014 by and among Golden Boy and

Haymon (GBP016201).
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     50. In the but-for world, Haymon is operating only as a manager facing the entire market of boxing

         promoters. That market for boxing promotions would continue to include Golden Boy, and as various

         boxers within the promotions market rise or change in the various rankings, or for other reasons, such as

         an increase in popularity, there would be interaction between Haymon as a manager and all members of

         the boxing promotions market, including Golden Boy. 24

     51. Also, in the but-for world, Golden Boy would not lack the availability of traditional broadcast networks

         that were actually subject to Haymon’s exclusive contract relations.


     E. I have considered and rejected as highly unlikely the hypothetical but-for analysis where Haymon acts

         only as a promoter.


     52. Haymon as a promoter-only market participant has been considered as an unlikely possibility. Haymon

         in a manager-only setting is consistent with the settlement Haymon reached with Top Rank, specifically

         Haymon’s agreement to allow his managed fighters to enter into contractual promotional arrangements

         with any particular promoter. 25




24 In conducting my damage analysis, I have reviewed the financial and other promotional details, including each individual fighter and
  their respective opponents, for every event promoted by Golden Boy from 2014 through June 30, 2016. I have also reviewed a redacted
  version of the settlement between “Top Rank,” who, according to http://www.toprank.com/about, bills themselves as the country’s
  premiere boxing promotions company, and Haymon, which, among other things, required Haymon’s best efforts in sending an
  irrevocable waiver of “all rights and benefits under each such Haymon Exclusivity Provision.” See also, Shaw Report e.g., at pages 7 –
  8.
25 Settlement Agreement and Release of Claims by and between Top Rank, Inc. and Alan Haymon effective May 5, 2016.

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VI.       CONCLUSION

      53. Based on my analysis, in the event that Haymon continues his anticompetitive conduct, including

          blocking Golden Boy and other promoters from television networks, I estimate Golden Boy's damages

          to be $20.0 million. This conclusion assumes that Haymon's anticompetitive conduct has permanently

          affected Golden Boy's ability to generate profits from its boxing promotions operations.

      54. In the event that Haymon ceases his anticompetitive conduct, either voluntarily or by court order or

          market forces, I estimate Golden Boy's damages to be in a range of $7.0 million to $8.4 million. This

          conclusion assumes that Golden Boy will recover back to a state of normalcy sometime between the end

          of 2017 and the end of 2018. To the extent that recovery period takes longer, Golden Boy's damages

          would be greater.




                                                           By:



                                                          £ ~J~
                                                           Date: September 6, 2016




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                                                                                        EXHIBIT 3
                                                        Analysis of Revenues and Expenses on an Event-by-Event, Boxer-by-Boxer Basis


                                                                                                                 Co-Promotion                                                                Income from
                                                                                     Merchandise   Sponsorship                   Other
                                 2014 Metrics           TV Revenue    Ticket Sales
                                                                                      Royalty       Revenue
                                                                                                                   Revenue
                                                                                                                                Revenue
                                                                                                                                             Total Revenue   Fighter COGS   Other Expenses     Boxing
                                                                                                                    Share                                                                     Operations

           Not under contract - championship caliber     18,540,738     8,468,935         17,506      865,028                     587,880      28,480,088      16,650,987       9,334,761      2,494,339
        Not under contract - not championship caliber    46,182,928    20,833,965         57,319    2,039,902                     894,340      70,008,454      46,133,051      22,000,313      1,875,089
               Under contract - championship caliber     28,972,751     8,582,634         16,413      855,513                     211,525      38,638,836      24,827,789       9,383,695      4,427,352
           Under contract - not championship caliber      2,387,256       254,667            306      636,229                      42,951       3,321,409       1,732,290       1,556,056         33,063
                                         Total 2014      96,083,673    38,140,201         91,545    4,396,672            -      1,736,696     140,448,787      89,344,118      42,274,826      8,829,843




                                                                                                                 Co-Promotion                                                                Income from
                                                                                     Merchandise   Sponsorship                   Other
                                 2015 Metrics           TV Revenue    Ticket Sales
                                                                                      Royalty       Revenue
                                                                                                                   Revenue
                                                                                                                                Revenue
                                                                                                                                             Total Revenue   Fighter COGS   Other Expenses     Boxing
                                                                                                                    Share                                                                     Operations

           Not under contract - championship caliber      1,155,832           -              -            -              -       (786,014)        369,819          46,580           5,432        317,807
        Not under contract - not championship caliber     2,070,179     1,286,869          2,179      770,673         25,200      139,584       4,294,684       2,896,388       1,872,290       (473,994)
               Under contract - championship caliber     23,067,055    11,208,612         70,743    1,475,715      1,973,547    1,520,128      39,315,798      24,723,222       9,221,395      5,371,180
           Under contract - not championship caliber      1,122,510       426,882            361      782,595         12,748       (1,557)      2,343,540       1,197,983       1,669,363       (523,806)
                                         Total 2015      27,415,576    12,922,363         73,282    3,028,983      2,011,495      872,140      46,323,840      28,864,172      12,768,480      4,691,187




                                                                                                                 Co-Promotion                                                                Income from
                                                                                     Merchandise   Sponsorship                   Other
                                 2016 Metrics           TV Revenue    Ticket Sales
                                                                                      Royalty       Revenue
                                                                                                                   Revenue
                                                                                                                                Revenue
                                                                                                                                             Total Revenue   Fighter COGS   Other Expenses     Boxing
                                                                                                                    Share                                                                     Operations

           Not under contract - championship caliber      2,552,411       927,047          6,508      150,363            -            -         3,636,328       2,050,000       1,211,661        374,667
        Not under contract - not championship caliber       600,787       391,362          1,676      361,218            -            -         1,355,042         902,135         788,244       (335,337)
               Under contract - championship caliber     19,000,689     6,664,961         49,762    1,214,355            -            -        26,929,767      14,711,458       9,087,663      3,130,645
           Under contract - not championship caliber        191,508       230,493          1,315      260,064            -            -           683,381         542,630         510,097       (369,347)
                                         Total 2016      22,345,395     8,213,863         59,260    1,986,000            -            -        32,604,518      18,206,224      11,597,665      2,800,629




Sources:
GBP008103
GBP008105
GBP008107
GBP016225
GBP016257
GBP016300
Rankings from http://www.ibfusbaregistration.com/
Rankings from http://www.wbaboxing.com/
Rankings from http://wbcboxing.com/
Rankings from http://www.wboboxing.com/
Rankings from http://www.fightnews.com/


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                                                                                                                                                                                  EXHIBIT 5
                                                                                                                                                                             Calculation of Damages

                                                                                                          See Appendix IV

                                                                                                                                                                                                         Waiver Date of
      Haymon TV contracts (as reflected in         Beginning Date of                                                                                                                                   Exclusivity Provision
                                                                                                         End Date of Agreement                                             Extension Periods
               Appendix IV)                           Agreement                                                                                                                                        Based on Top Rank
                                                                                                                                                                                                            Settlement


                        CBS                            January 1, 2015            December 31, 2016                                                                          December 31, 2017
                       ESPN                               July 1, 2015                                           June 30, 2017                                               December 31, 2017
                        FOX                            March 31, 2015                                                                        September 30, 2018
                        NBC                            January 1, 2015            December 31, 2016                                                                          December 31, 2017                   May 13, 2016
                      Spike TV                         January 1, 2015            December 31, 2016                                                                          December 31, 2017




                                                                                                                                                                                                                                                                                                                      Damages before
                                                                                                                                                                           Historical Damages                                                                                                                         Discounting and      Damages Adjusted
                                                                                                                                                                            before impact of                                                                                                                          Adjustment for      for Discounting and
                                                                                                            6-months ending                                                Negative Industry                                                                                                                         Forecast Industry     Forecast Industry
                                                          2014                         2015                  June 30, 2016                 2016 (annualized)[2]                  Growth                       12/31/16                          2017                     2018              Future Periods                 Growth               Growth[3]            Net Damages
            Income from Boxing Operations [1]      $       8,829,843         $            4,691,187        $        2,800,629          $              5,601,257




                                                                                                             [50% of 2014
                                                                                                                                        [2014 income from
                                                                                 [2014 income from            income from
                                                                                                                                       boxing less annualized
                                                                                  boxing less 2015]         boxing 6-months
                                                                                                                                               2016]
                                                                                                             ending 2016]

                                                                                          4,138,656                 1,614,293                         3,228,586        $             5,752,949


      Scenario 1: Calculating damages based on the assumption that Haymon immediately ceases his anticompetitive conduct and there is a minimum
      effect on the time required for Golden Boy to re-establish network TV relationships and return to historical profitability. This calculation also
                                                                                                                                                                       $             5,752,949                      1,614,293                                                    -                      -        $            7,367,242            2,003,874    $        5,363,368
      assumes that Golden Boy, in a very short period of time, can mitigate all of the financial damage it has experienced in 2015 and 2016. In my
      opinion, this damage scenario is highly unlikely.



      Scenario 2: Calculating damages based on the assumption that Haymon ceases his anticompetitive conduct and Golden Boy is able to mitigate all
      the financial damage it has experienced in 2015 and 2016 by the end of Haymon's TV contracts including extension periods. In my opinion, this a                  $             5,752,949                      1,614,293                     3,228,586                      -                      -        $           10,595,828            3,607,339    $        6,988,490
      conservative damage scenario considering the full results of my analysis in this case.


      Scenario 3: Considers all of the effects of Scenario 2 and adds an additional year of damages to take into account the likelihood that there has been
      an extensive change in the way that boxing promoters and network television contract with each other, and even under these circumstances Golden
      Boy through all of its efforts returns to normal profitability by the end of 2018. In my opinion, this a reasonable damage scenario considering the   $                        5,752,949                      1,614,293                     3,228,586               3,228,586                     -        $           13,824,414            5,447,899    $        8,376,515
      full results of my analysis in this case.[4]


      Scenario 4: Considers all of the effects summarized in Scenario 2 and Scenario 3, but also considers the possibility that either Haymon does not
      cease his anticompetitive conduct, or there is a permanent change in Golden Boy's relationship with the major TV networks (all but HBO continue
      not to pay licensing fees), and that the cost structure in the amounts paid to boxers remains at an increased level and even with Golden Boy's best              $             5,752,949          $           1,614,293         $           3,228,586       $       3,228,586       $     30,173,701       $           43,998,115           23,960,632    $       20,037,483
      efforts in other available areas to make additional profit, they do not return to normal levels of profitability. This damage calculation considers the
      damage to Golden Boy to be permanent in nature.


Sources:

[1]   See Exhibit 3

      The 6-month period ending June 30, 2016 operating income has been annualized by multiplying the amount by 2. The Company does not have current financial projections for the second half of 2016, and I am unaware of any other specific financial data that would inform this annualization differently. In my use of
[2]
      annualizing calculations and creating comparative 6-month time periods, I have considered both the first 6 months of performance in 2014 and the second 6 months of performance in 2014.


      Estimated cost of capital for Golden Boy, as per 2015 Valuation Handbook - Industry Cost of Capital , from "Division I: Services, SIC 79, Amusement and Recreation Services. The major group includes establishments engaged in providing amusement or entertainment services, not elsewhere classified." Cost of Capital
[3]
      13.0% (midpoint between CAPM+size premium and DCF 1-stage). Long-term growth estimated at 2.3% inflation rate (per BVR Economic Update 1Q2016 Summary). Discrete period Industry Growth/Decline rates as shown in the table below.

[4]   Shaw Report, pages 8 -12.

Notes:
In calculating the Net Damages, I have assumed the growth rates indicated below from the Integra Industry Growth Outlook Report. I have selected these growth rates because they are the closest reported to the boxing industry. However, based on my work in this matter, I believe it is unlikely that the boxing industry will
suffer these negative growth rates. Estimating damages using a conservative 2% long-term growth rate would increase the Scenario 2 Net Damages to $10.8m, the Scenario 3 Net Damages to $13.5m and the Scenario 4 Net Damages to $36.2m.



                                                                                           Source:
                                                            Integra Industry Growth Outlook Report
                                                                       197.3 7941 PROFESSIONAL
                                                             SPORTS CLUBS AND PROMOTERS




                                                                                                                                                                                                                                HIGHLY CONFIDENTIAL

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                                                                                                                                                                                                                                     EXHIBIT B                                                                                                                                       130
